      Case 2:16-cr-00145-TOR      ECF No. 113     filed 02/15/17   PageID.370 Page 1 of 1




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 2
 3                          UNITED STATES DISTRICT COURT
 4                       EASTERN DISTRICT OF WASHINGTON
 5
 6 UNITED STATES OF AMERICA,                        No. 2:16-CR-145-TOR-2
 7
                Plaintiff,                          ORDER GRANTING
 8 vs.                                              DEFENDANT’S UNOPPOSED
 9                                                  MOTION TO MODIFY
   DERRICK JOHN FINCHER,                            CONDITIONS OF PRETRIAL
10                                                  RELEASE
11              Defendant.
12         Before the Court is Defendant’s Unopposed Motion to Modify Conditions of
13   Release. Defendant requests that he be allowed to travel outside the District for
14   athletic competitions involving his son’s high-school sports programs. Neither the
15   U.S. Probation Office nor the United States Attorney object to Defendant’s
16   Motion.
17         IT IS ORDERED that Defendant’s Motion, ECF No. 111, is GRANTED.
18   Defendant may travel outside the Eastern District of Washington for his son’s
19   sports activities, under the discretion and with prior approval of Pretrial Services.
20         Prior to travel, Defendant must provide Pretrial Services with specific
21   contact information as to where he will be staying, and a telephone number where
22   he can be contacted at any time that he is out of the district.
23         While out of the district, Defendant is subject to all previously-ordered
24   conditions of release not inconsistent with temporary travel outside the district.
25         DATED February 15, 2017.
26
                                   _____________________________________
27
                                             JOHN T. RODGERS
28                                  UNITED STATES MAGISTRATE JUDGE

     ORDER - 1
